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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

DAVID GELINAS,

      Plaintiff,

v.                                                     Case No: 8:17-cv-3040-MSS-JSS

MGC MORTGAGE, INC.,

      Defendant.


                      ORDER OF DISMISSAL WITH PREJUDICE

      Upon consideration of the Parties’ Joint Stipulation of Dismissal with Prejudice,

(Dkt. 27) and pursuant to Fed.R.Civ. P. 41, it is hereby

      ORDERED that this case is DISMISSED WITH PREJUDICE. Each party shall

bear its own attorneys’ fees and costs associated with this matter. This matter shall

remain CLOSED.

      DONE and ORDERED at Tampa, Florida this 27th day of June, 2018.




Copies furnished to:
Counsel of Record
Any Unrepresented Party
